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Before me on this day personally appeared Steven Rocket Rosen, who is known to me , and who

being first duly sworn upon oath deposed and said:

My name is Steven Rocket Rosen, attorney at law. l my office is located at 214 Morton Street

 

Richmond Texas 77469 in Fort Bend County, Texas. I am over the age of eighteen (18) years of age. I

 

am fully competent to makes this Affidavit. I have personal knowledge of the facts stated herein and they

are all true and correct.

As the attorney for Vicki Stark-Fitts l provided a vigorous and thorough legal advice and defense
for Ms. Stark Fitts. The allegations of ineffective assistance of counsel are untrue. l performed the duties

and responsibilities listed below to the best of my ability.

I provided Vicki Stark-Fitts with all evidence the government had against her and reviewed it
with her on numerous occasions

I reviewed the facts with Ms. Stark-Fitts. Ms. Stark-Fitts did not offer any witnesses other than
her co-defendants. Those defendants did not wish to speak to me. They were in the process of making
their own decisions with their own counsel.

Motions I filed were adequate to Ms. Stark-Fitts case. Had I gone to trial with Ms. Stark-Fitts I
certainly would have argued them in detail.

Ms. Stark-Fitts and l had numerous discussions regarding the maximum sentence she might
receive should she lose at trial. These discussions played a major role in Ms. Stark»Fitts’ decision to plead

guilty.

Ms. Stark Fitts and I discussed numerous strategies and possible outcomes of a trial. She was
made well aware of her options and consequences

l spent months working on a plea day for Ms. Stark-Fitts and relayed every offer that was given
to me. Ultimately Ms. Stark-Fitts decided to plead guilty and began cooperating with the govemment.

I had numerous discussions regarding changing her plea and the consequences She was told
exactly what would happen at re-arraignment. l had a personal emergency on the day of her arraignment
and sent an attorney with 35 years of experience who had been briefed on her case and re-arraignment.

Ms. Stark Fitts was told exactly what to expect from the PSR procedure and report. Aiter the PSR
was produced Ms. Stark-Fitts reviewed the report and discussed objections Those objections were filed in
a timely manner. She was never informed of or promised any downward departure from the state.

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Ms. Stark Fitts was completely aware of and understood her right of appeal. She never requested
that I participate in filing any post-conviction documents and she was aware she could request appointed
counsel.

Ms. Stark-Fitts’ claim that l had a conflict of interest is not true. Yes, my wife was recovering
from a bout with cancer. However with the exception of Ms. Stark-Fitts’s re-arraignment hearing I was
present, available and worked hard for Ms. Stark-Fitts.

My statement at sentencing was an effort to convey a sense that life is precious for everyone. I
spoke from the heart with honesty and appeal. l hoped the Judge would take up my theme and show
mercy for Ms. Stark-Fitts. I did not want Ms. Stark-Fitts to receive life in prison for the crime she had
committed I wanted the judge to allow her to live some of her life free in the future.

 

 

SteV@/L?/MF'

State of Texas, County of Fort Bend

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Swom and subscribed before me on this the 611 day of 2017.

 

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Notary Public

Saptember 23. 2017

 

